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     Attorneys for Plaintiff,
 8   CELLSPIN SOFT INC.
 9                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                       OAKLAND DIVISION
11
12   CELLSPIN SOFT, INC.,
13                                                      CASE NO. 4:17-CV-05929-YGR
                          Plaintiff,
14                                                      STATUS UPDATE PURSUANT TO COURT’S
     v.
                                                        ORDER (DKT. NO. 192)
15
     MOOV, INC.,
16
                          Defendant.
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               Case 4:17-cv-05929-YGR Document 193 Filed 07/15/22 Page 2 of 3



 1          Pursuant to the Court’s June 23, 2022 Order (Dkt. No. 192), the parties hereby submit their Joint
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     Update stating the parties’ positions on scheduling summary judgment motions. This Court stayed this case
 3
     before the parties completed expert discovery.
 4
            Moov believes that a stay should remain in place pending complete resolution of the appeal of the
 5
     related cases. Moov requests the opportunity to address the Court either through a conference with the Court
 6
 7   as scheduled on Friday, July 22, 2022, or through briefing, before a schedule is put into place.

 8          Cellspin interprets the Court’s Order as requesting a summary judgment briefing schedule.
 9          As an alternative to Moov’s request to maintain the stay, the parties jointly present the following
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     schedule that accounts for the parties’ Rule 26 expert disclosure obligations, if any.
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12
            Date                                           Description
13
14          September 30, 2022                     Parties serve initial expert reports.

15          October 30, 2022                       Parties serve rebuttal expert reports.

16          November 15, 2022                      Expert Discovery ends.
17          November 30, 2022                      Deadline to file 3-page Letter Briefs on
18                                                 proposed motions for summary judgment.

19          December 15, 2022                      Deadline to file 3-page Response to Letter
                                                   Briefs.
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            At a date set by Court                 Hearing and Conference with the Court.
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23          Cellspin’s counsel, respectfully asks that if a hearing is held on July 22, that counsel be allowed to
24   appear remotely via telephone or video conference.
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                Case 4:17-cv-05929-YGR Document 193 Filed 07/15/22 Page 3 of 3



 1          .
 2
     Dated: July 16, 2022
 3
                                           By:   /s/ Randall Garteiser
 4                                               PETER J. CORCORAN III
                                                 State Bar No. 224181
 5                                               MICHAEL SCOTT FULLER
                                                 TX State Bar No. 24036607
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                                                 RANDALL T. GARTEISER
 7                                               State Bar No. 231821
                                                 CHRISTOPHER A. HONEA
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 9                                               Attorneys for Plaintiff,
10                                               CELLSPIN SOFT INC.

11
                                          By:    /s/ Shane Brun
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16
                                                  Attorney for Defendant
17                                                MOOV INC. D/B/A MOOV FITNESS INC.
18
19                                          ATTESTATION
20
     Pursuant to Civil L.R. 5-1(i)(3) regarding signatures, I attest under penalty of perjury that the
21
22   concurrence in the filing of this document has been obtained from its signatories.

23
24   Dated:        July 15, 2022                                   /s/ Randall Garteiser
                                                                   Randall Garteiser
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